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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              LUBBOCK DIVISION

FIRST BANK & TRUST,               §
                                  §
      Plaintiff,                  §
                                  §
VS.                               §                    CIVIL ACTION NO. 5:18-cv-00234-C
                                  §
REAGOR AUTO MALL LTD. d/b/a       §
REAGOR-DYKES OF LEVELLAND and §                                (Jury Trial Demanded)
d/b/a REAGOR-DYKES IMPORTS,       §
FIRSTCAPITAL BANK OF TEXAS, N.A., §
BART REAGOR, RICK DYKES, SHANE §
SMITH, SHEILA MILLER, BRAD D.     §
BURGESS and KENNETH BURGESS       §
                                  §
      Defendants.                 §

                                  ANSWER OF RICK DYKES

TO THE HONORABLE SAM R. CUMMINGS,
UNITED STATES DISTRICT JUDGE:

       Rick Dykes, defendant in the above-captioned proceeding, files this Answer to the First

Amended Complaint of Plaintiff First Bank & Trust (“First Bank”) in this civil action.

                                           BACKGROUND

       1.      This civil action is related to another civil action pending in this Court (Ford Motor

Credit Corp v. Reagor Auto Mall I, et al, civil action no. 5:18-cv-00186) and a related chapter 11 case

pending in the United States Bankruptcy Court for this district (In re: Reagor-Dykes Motors, LP,

et al Debtors, jointly-administered chapter 11 case no. 18-50214-rlj11).

       2.      On an emergency basis in late July, 2018, Ford Motor Credit Company (“Ford

Credit”) suspended its financing of six West Texas auto dealerships in the Reagor-Dykes Auto

Group, which prompted the filing of the above-described chapter 11 case.


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       3.      Plaintiff First Bank and Defendant FirstCapital Bank of Texas, N.A.

(“FirstCapital”) are two of several financial institutions that provide floor-plan financing to

Defendant Reagor-Dykes Auto Mall, Ltd. d/b/a Reagor-Dykes of Levelland and d/b/a Reagor-

Dykes (“RAM”), which owns and operates the used-car dealerships of Reagor-Dykes Auto

Group. Ford Credit does not provide floor-plan financing to RAM, but Ford’s suspension of

floor-plan financing to the other six Reagor-Dykes dealerships had the ripple effect of

prompting First Bank and FirstCapital to suspend their floor-plan financing of RAM.

       4.      Consequently, since August 1, 2018, Reagor-Dykes Auto Group – one of the

largest auto dealership operations in West Texas – has had no access to any floor-plan financing

credit facilities, which are the life-blood of any auto dealership’s ability to sell auto inventory. As

a result, RAM and Reagor-Dykes Auto Group’s capacity to sell auto inventory – and its

concomitant capacity to generate profits — has ground to a virtual halt.

       5.      In the related chapter 11 case, Mr. Dykes and Defendant Bart Reagor – the

owners of Reagor-Dykes Auto Group – directed the Reagor-Dykes dealerships in their chapter

11 case to request that the Bankruptcy Court appoint BlackBriar Capital LLC of Dallas, Texas

as the independent chief restructuring officer (“CRO”). The primary purpose of the CRO is to

provide independent management of the Reagor-Dykes dealerships in chapter 11 and investigate

the irregularities in the Reagor-Dykes Auto Group’s financial data that prompted Ford Credit’s

suspension of financing. The Bankruptcy Court approved BlackBriar as the independent CRO

on August 16, 2018.

       6.      Over the past two months, the CRO has been focused on attempting to sell or

recapitalize the Reagor-Dykes dealerships and RAM in order to generate funds necessary to pay

the claims of creditors. Accordingly, the CRO’s investigation of the irregularities in Reagor-

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Dykes Auto Group’s financial data has taken a back seat for the time being to that sale or

recapitalization effort. However, preliminary investigatory results indicate that several financial

institutions had knowledge of, and profited from, the banking practices of RAM and Reagor-

Dykes Auto Group that are central to First Bank’s First Amended Complaint.

                                   AFFIRMATIVE DEFENSES

        7.     First Bank’s actions breached agreements with RAM and Mr. Dykes that have

been modified through the course of conduct between First Bank, RAM, and Mr. Dykes.

        8.     First Bank’s actions improperly impaired the value of the security for the claims

upon which it seeks recovery from RAM and Mr. Dykes. As a result, RAM and Mr. Dykes are

entitled to setoff the amount of any such impairment against any of First Bank’s claims against

them.

        9.     First Bank engaged in a course of conduct with Defendant Shane Smith that

damaged RAM’s ability to pay its debt to First Bank, which damaged Mr. Dykes.

        10.    First Bank has failed to mitigate the damages that it asserts against Mr. Dykes.

                            RESERVATION OF RIGHT TO AMEND

        11.    In just over two months, Reagor-Dykes Auto Group has gone from being one of

the largest auto dealership businesses in West Texas to desperately attempting to preserve going

concern value for its creditors. The events leading to this civil action, the related Ford Credit

civil action, and the related chapter 11 case have occurred with dizzying speed. As a result, there

simply has not been adequate time for RAM, Mr. Dykes and their respective counsel to fully

evaluate reasonable questions regarding First Bank’s actions relating to the facts alleged in the

First Amended Complaint. Moreover, the CRO in the Reagor-Dykes dealerships chapter 11 case

is currently in the process of arranging a sale or recaptialization of RAM and the Reagor-Dykes

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dealerships, the proceeds of which may substantially reduce the amount of First Bank’s claims

in this civil action.

        12.     In view of the foregoing, Mr. Dykes reserves the right to amend this answer with

affirmative defenses (including those under FED R. CIV. P. 8(c)) and counterclaims that may arise

from information discovered in connection with the Reagor-Dykes dealerships chapter 11 case

and in the discovery phase of this civil action.

                                         JURY DEMAND

        13.     Mr. Dykes demands a jury for the trial of this civil action.

                                             ANSWER

        Subject to the foregoing affirmative defenses and reservation of his right to amend, Mr.

Dykes responds to the First Amended Complaint by the following parallel-numbered

paragraphs:

                                                   I.
                                   NATURE OF THE ACTION

        To the extent Mr. Dykes is implicated in the allegations contained in the unnumbered

section of the First Amended Complaint, Mr. Dykes denies the allegations.

                                               II.
                                             PARTIES

        1.      Admitted.

        2.      Admitted.

        3.      Admitted.

        4.      Admitted.

        5.      Admitted



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       6.     Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       7.     Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       8.     Admitted.

       9.     Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

                                             III.
                                JURISDICTION AND VENUE

       10.    Admitted.

                                          IV.
                                  FACTUAL ALLEGATIONS

A. THE RD-LEVELLAND AGREEMENTS.

       The Business Loan Agreement and Promissory Note

       11.    Admitted.

       12.    Admitted.

       13.    Admitted.

       14.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       The Commercial Security Agreement

       15.    Admitted.

       16.    Admitted.

       17.    Admitted.

       18.    Admitted.

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        19.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        20.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        21.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        22.   Admitted

        Guaranties of RAM’s Indebtednes.

        23.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        24.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

        25.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

        26.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

B.      The RD-Imports Agreements

        The Business Loan Agreement and Promissory Note

        27.   Admitted.

        28.   Admitted.

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       29.    Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

       30.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       The Commercial Security Agreement

       31.    Admitted.

       32.    Admitted.

       33.    Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such security interest was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

       34.    Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such events of default were modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

       35.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       36.    Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

       37.    Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such reservation of rights and authorization were modified through the course of conduct

between the parties and, therefore, for purposes of pleading, denies the same.



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        38.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

        Guaranties of RAM’s Indebtedness

        39.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        40.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

        41.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

        42.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

C.      The Defaults

        43.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        44.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

the third and fourth sentences and, therefore, for purposes of pleading, denies the same.

        45.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.



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        46.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        47.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        48.   The first sentence is admitted as to RAM and Mr. Dykes. Mr. Dykes has

insufficient information to admit or deny such allegation with regard to the other Defendants.

Mr. Dykes has insufficient information to admit or deny the allegations in the second sentence

and, therefore, for purposes of pleading, denies the same.

        49.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        50.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        51.   Admitted, except Mr. Dykes has insufficient information to admit or deny the

accuracy of the amounts that First Bank claims are owing on the promissory notes.

D.      The RAM Check-Kiting Scheme and Resulting Overdrafts

        Rick Dykes: Insider, FirstCapital Board Member and Large Shareholder.

        52.   Admitted.

        53.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

Mr. Reagor’s ownership interest in FirstCapital and, therefore, for purposes of pleading, denies

the same.

        54.   Admitted.




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       Check-Kiting

       55.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       56.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       57.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.


       The RAM Check-Kiting Scheme against First Bank and Resulting Overdrafts

       58.    Admitted.

       59.    Admitted, except that Mr. Dykes has insufficient information to admit or deny

if such agreement was modified through the course of conduct between the parties and,

therefore, for purposes of pleading, denies the same.

       60.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       61.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       62.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       63.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.




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       First Capital and the Burgess Defendants Consprise with RAM to Pin the Damages on
       First Bank

       64.    Mr. Dykes denies the first sentence. Mr. Dykes has insufficient information to

admit or deny the allegations contained in the remaining sentences and, therefore, for purposes

of pleading, denies the same.

       65.    Mr. Dykes denies the first sentence and admits the second sentence.

       66.    Mr. Dykes admits that he met with Mr. Burgess at the direction of counsel for

RAM to discuss and secure continued floor-plan financing for RAM. Mr. Dykes denies the

remaining allegations.

       67.    Admitted.

       68.    Admitted, except that Mr. Dykes has insufficient information to admit or deny

the allegation contained in the third sentence and, therefore, for purposes of pleading, denies

the same.

       69.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       First Capital and the Burgess Defendants Act on Inside Information

       70.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       71.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       72.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.




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       73.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       74.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       75.    Admitted.

       76.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       77.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       78.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       79.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       80.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       First Capital is Damaged by More Than $1.5 Million

       81.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       82.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       83.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.



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       84.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

                                            V.
                                    CLAIMS FOR RELIEF

A.     Count 1: Breach of the RD-Levelland Business Loan Agreement (against RAM)

       85.    No response required.

       86.    Admitted.

       87.    Admitted.

       88.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       89.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       90.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       91.    Admitted, except that Mr. Dykes has insufficient information to admit or deny

the accuracy of amount of payment demanded and, therefore, for purposes of pleading, denies

the same.

B.     Count 2: Breach of the RD-Levelland Promissory Note (against RAM)

       92.    No response required.

       93.    Admitted.

       94.    Admitted.

       95.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.


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       96.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       97.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       98.    Admitted.

C.     Count 3: Breach of the RD-Levelland Security Agreement (against RAM)

       99.    No response required.

       100.   Admitted.

       101.   Admitted.

       102.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       103.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       104.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       105.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

the accuracy of the amount of payment demanded and, therefore, for purposes of pleading,

denies the same.

D.     Count 4: Breach of RD-Levelland Reagor Commercial Guaranty (against Reagor)

       106.   No response required.

       107.   Admitted.

       108.   Admitted.



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       109.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       110.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       111.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       112.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       113.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

E.     Count 5: Breach of RD-Levelland Dykes Commercial Guaranty (against Dykes)

       114.   No response required.

       115.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

whether the guaranty remains a valid and enforceable contract and, therefore, for purposes of

pleading, denies the same.

       116.   Admitted.

       117.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       118.   Mr. Dykes admits that First Bank has made demand for payment and that he has

made no payment, but has insufficient information to admit or deny the accuracy of the amounts

that First Bank claims are owing and, therefore, for purposes of pleading, denies the same.

       119.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

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       120.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       121.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

F.     Count 6: Breach of RD-Imports Business Loan Agreement (against RAM)

       122.   No response required.

       123.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

whether the agreement remains a valid and enforceable contract and, therefore, for purposes of

pleading, denies the same.

       124.   Admitted.

       125.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       126.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       127.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       128.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

the accuracy of the amount of payment demanded and, therefore, for purposes of pleading,

denies the same.

       G.     Count 7: Breach of the RD-Imports Promissory Note (against RAM)

       129.   No response required.




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       130.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

whether the agreement remains a valid and enforceable contract and, therefore, for purposes of

pleading, denies the same.

       131.   Admitted.

       132.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       133.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       134.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       135.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

the accuracy of the amount of payment demanded and, therefore, for purposes of pleading,

denies the same.

H.     Count 8: Breach of the RD-Imports Security Agreement (against RAM)

       136.   No response required.

       137.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

whether the agreement remains a valid and enforceable contract and, therefore, for purposes of

pleading, denies the same.

       138.   Admitted.

       139.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       140.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

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         141.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

         142.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

the accuracy of the amount of payment demanded and, therefore, for purposes of pleading,

denies the same.

I.       Count 9: Breach of the RD-Imports Commerical Guaranty (against Reagor)

         143.   No response required.

         144.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

whether the guaranty remains a valid and enforceable contract and, therefore, for purposes of

pleading, denies the same.

         145.   Admitted.

         146.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

         147.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

         148.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

         149.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

         150.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

J.       Count 10: Breach of the RD-Imports Commerical Guaranty (against Dykes)

         151.   No response required.

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       152.   Admitted, except that Mr. Dykes has insufficient information to admit or deny

whether the guaranty remains a valid and enforceable contract and, therefore, for purposes of

pleading, denies the same.

       153.   Admitted.

       154.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       155.   Mr. Dykes admits that First Bank has made demand for payment and that he has

made no payment, but has insufficient information to admit or deny the accuracy of the amounts

that First Bank claims are owing and, therefore, for purposes of pleading, denies the same.

       156.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       157.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       158.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

K.     Count 11: Application for Writ of Sequestration against RAM

       159.   No response required.

       160.   Admitted.

       161.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       162.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.



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        163.   Mr. Dykes denies that a writ of sequestration is appropriate or that there is any

immediate danger that RAM will remove collateral inventory from the county during the

pendency of this civil action without the consent of First Capital.

        164.   Admitted.

        165.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

        166.   Mr. Dykes denies the first three sentences. Mr. Dykes has insufficient information

to admit or deny the remaining allegations and, therefore, for purposes of pleading, denies the

same.

        167.   Mr. Dykes denies that an ex parte hearing is appropriate.

        168.   Mr. Dykes denies that issuance of a writ of sequestration is appropriate under the

circumstances..

        169.   Mr. Dykes denies that issuance of a writ of sequestration is appropriate under the

circumstances, but does not oppose a deposit of cash in lieu of a bond if a writ is approved.

        170.   Mr. Dykes denies that such amount is equal to the estimated value of the property

to be sequestered and estimated costs of court.

        171.   Mr. Dykes denies that issuance of a writ of sequestration is appropriate under the

circumstances, but does not oppose that the writ be issued by the Court rather than the clerk if

the Court deems otherwise.

        172.   Mr. Dykes denies that issuance of a writ of sequestration is appropriate under the

circumstances, but does not oppose the relief requested if the writ is approved.

        173.   Mr. Dykes denies that issuance of a writ of sequestration is appropriate under the

circumstances..

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       174.   No response required.

K.     Count 12: Recovery of Overdraft/Refund under UCC § 4.214 (against RAM)

       175.   No response required.

       176.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       177.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       178.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

M.     Count 13: Fraud (against RAM and Smith)

       179.   No response required.

       180.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       181.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       182.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       183.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       184.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       185.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

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N.     Count 14: Money Had and Received/UnjustEnrichment/Restutution (against
       RAM and FirstCpital)

       186.   No response required.

       187.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       188.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       189.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

O.     Count 15: Conversion (against RAM and FirstCapital)

       190.   No response required.

       191.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       192.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

       193.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

P.     Count 16: Statutory Liability under the Expedited Funds Availability Act and
       Federal Reserve Regulation CC (against FirstCapital)

       194.   No response required.

       195.   No response required.

       196.   No response required.

       197.   No response required.



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Q.       Count 17: Liability under Tex. Bus. & Com. Code (“UCC”) (against FirstCapital)

         198.   No response required.

         199.   No response required.

         200.   No response required.

         201.   No response required.

         202.   No response required.

         203.   No response required.

R.       Count 18: Breach of Account Agreement (against Reagor, Dykes, Smith, and
         Miller)

         204.   No response required.

         205.   Mr. Dykes admits that he signed the Account Agreement, but he has insufficient

information to admit or deny the validity or enforceability of that agreement and, therefore, for

purposes of pleading, denies the same.

         206.   Admitted.

         207.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

         208.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

         209.   Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

S.       Count 19: Conspiracy to Commit Fraud (against First Capital and the Burgess
         Defendants).

         210.   No response required.

         211.   No response required.

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       212.    No response required

       213.    No response required.

       214.    No response required.

T.     Count 20: Aiding and Abetting Fraud (against First Capital and the Burgess
       Defendants).

       215.    No response required.

       216.    No response required.

       217.    No response required.

       218.    No response required.

                                          VI.
                                   EXEMPLARY DAMAGES

       219.    No response required.

                                           VII.
                                ATTORNEYS’ REES AND COSTS

       220.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

                                          VI.
                                 CONDITIONS PRECEDENT

       221.    Mr. Dykes has insufficient information to admit or deny the allegations and,

therefore, for purposes of pleading, denies the same.

                                              VI.
                                     PRAYER FOR RELIEF

       1-9.    These paragraphs are legal conclusions or requests for relief to which no response

is required.




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       Accordingly, Mr. Dykes requests the relief requested by First Bank be denied, as well as

such other and further relief as is just.

                                            Respectfully submitted,

                                             /s/ Tom Kirkendall
                                            Tom Kirkendall
                                            State Bar No. 11517300
                                            LAW OFFICE OF TOM KIRKENDALL
                                            2 Violetta Ct
                                            The Woodlands, Texas 77381-4550
                                            281.364.9946
                                            888.582.0646 (fax)
                                            bigtkirk@kir.com (email)

                                            ATTORNEY FOR RICK DYKES, DEFENDANT



                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument, was served on
respective counsel for the other parties to this civil action via electronic transmission via the
Court’s ECF system on the 11th day of October, 2018.


                                                     /s/ Tom Kirkendall
                                                    Tom Kirkendall




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